Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 1 of 13 PageID: 466




  Eric L. Harrison ID #033381993
                      -




  METHFESSEL & WERBEL, ESQS.
  2025 Lincoln Highway, Suite 200
  P0 Box 3012
  Edison, New Jersey 02818
  (732) 248-4200
  1(732) 248-2355
  harrison@methwerb.com
  Attorneys for Carrot McMorrow
  Our Fite No. 85341 ELH
                        IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



       MICHAEL CIOFFI,
                                                            CASE No: 2:16-cv-04536 (WJM)(Mf)
                             Plaintiff,
                                                                        Civil Action

       BOROUGH OF ENGLE WOOD CLIFFS,
       MARIO M. KRANJAC (In his Official and
       Individual Capacities), CARROL
       MCMORROW (In her Official and Individual
       Capacities), NUNZIO CONSALVO (In his                  DISCOVERY CONFIDENTIALITY
       Official and Individual Capacities), MARK                       ORDER
       PARK (In his Official and Individual
       Capacities),

                             Defendants.




            It appearing that discovery in the above-captioned action is likely to involve the disclosure

  of confidential information, it is ORDERED as follows:

  1.        Any party to this litigation and any third-party shall have the right to designate as

  “Confidential” and subject to this Order any information, document, or thing, or portion of any

  document or thing: (a) that contains private or confidential personal information pertaining to any

  of the named defendants or any person or individual employed by any named defendant, including
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 2 of 13 PageID: 467




  but not limited to personnel files maintained by the Borough of Englewood Cliffs and/or its Police

  Department; (b) that contains information received in confidence from third parties; (c) that

  contains medical documentation, including all consultation, evaluations and treatment records for

  alt named individual defendants and any non-party individuals; (d) Internal Affairs files and

  personnel files maintained by the Borough of Englewood Cliffs and/or its Police Department

  including but not limited to all documents related to any investigations, charges, hearings,

  proceedings, rulings/decisions, penalties and/or remedies, or (e) which the producing party or

  receiving party otherwise believes in good faith to be entitled to protection under federal Rules of

  Civil Procedure, NJ Attorney General Guidelines or any other federal or state statute, regulation

  or law. Any party to this litigation or any third party covered by this Order, who produces or

  discloses any Confidential material, including without limitation any information, document,

  thing, interrogatory answer, admission, pleading, or testimony, shall mark the same with the

  foregoing or similar legend: “CONFIDENTIAL” or “CONFIDENTIAL                          —   SUBJECT TO

  DISCOVERY CONFIDENTIALITY ORDER” (hereinafter referred to as “Confidential” or

  “Confidential material”).

  2.     Any party to this litigation and any third-party shall have the right to designate as “Attorneys’

  Eyes Only’1 and subject to this Order any information, document, or thing, or portion of any

  document or thing that contains highly sensitive business or personal information, the disclosure

  of which is highly likely to cause significant harm to an individual or to the business or

  competitive position of the designating party. Any party to this litigation or any third party who

  is covered by this Order, who produces or discloses any Attorneys’ Eyes Only material, including

  without limitation any information, document, thing, interrogatory answer, admission, pleading, or

  testimony, shall mark the same with the foregoing or similar legend: “ATTORNEYS’ EYES

  ONLY”      or   “ATTORNEYS’           EYES      ONLY       —      SUBJECT        TO       DISCOVERY
                                                     2
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 3 of 13 PageID: 468




  CONFIDENTIALITY ORDER (hereinafter HAttorney& Eyes Only”).

  3.      All Confidential materiaL shall be used by the producing and receiving party for purposes

  of the prosecution or defense of this action, shall not be used by the receiving party for any

  business, commercial, competitive, personal or other purpose, and shall not be discLosed by the

  receiving party to anyone other than those set forth in Paragraph 4, unless and until the restrictions

  herein are removed either by written agreement of counsel for the parties, or by Order of the Court.

  It is, however, understood that counsel for a party may give advice and opinions to his or her client

  solely relating to the above-captioned action based on his or her evaluation of Confidential

  material, provided that such advice and opinions shall not reveal the content of such Confidential

  material except by prior written agt’eement of counsel for the parties, or by Order of the Court.

  4.      Confidential material and the contents of Confidential material may be disclosed only to

  the following individuals under the following conditions:

             a. Attorneys of record in this Action, and, if the attorney of record is a member of a
                law firm, the employees and staff of the law firm shall not be required to sign the
                “Agreement to Be Bound by Discovery Confidentiality Order” appended hereto as
                Exhibit A. However, the attorneys of record in the Action are responsible to
                supervise and ensure compliance with this Discovery Confidentiality Order.

             b. Personal counsel to Defendant Carrol McMolTow, Steven A. Varano and Joseph
                Slawinski, at the Law Offices of Steven A. Varano, P.C., 96 Newark Pompton
                Turnpike, Little Falls, N.J. 07424, who shall sign the “Agreement to be Bound by
                Discovery Confidentiality Order” appended hereto as Exhibit A, and the employees
                and staff of the law firm,.

             c. Parties to the Action;

             d, Persons retained by the attorneys of record to provide litigation support services in
                this action. Before any such person is permitted access to any of the Confidential
                material, such person shall be informed of the existence and contents of this
                Discovery Confidentiality Order and shall sign the “Agreement to Be Bound by
                Discovery Confidentiality Order” appended hereto as Exhibit A. The attorney or
                law firm hiring such individual or company is responsible for compliance by that
                individual or company with this Discovery Confidentiality Order.

             e. The insurer of a party to litigation and employees of such insurer to the extent
                reasonably necessary to assist the party’s counsel to afford the insurer an

                                                    3
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 4 of 13 PageID: 469




                     opportunity to investigate and evaluate the claim for purposes of determining
                     coverage and for settlement purposes;

                1.   Experts and consultants (whether or not designated to testify) retained in this action
                     by the attorneys of record, insofar as the attorneys of record may deem it necessary
                     for the preparation or trial of this case to consult with such experts or consultants.

                g. Court reporters (and stenographers utilized during discovery), the Court and its
                   employees and officers including, but not limited to, jurors einpaneled in the trial
                   of this case and any appellate court considering an appeal from this case.

                h. Any other employees for each party, solely for purposes of the action, so long as
                   such individuat[sJ to whom disclosure is made pursuant to order of court or by
                   stipulation of the Parties shall, prior to receiving such disclosure, be furnished with
                   a copy of this Discovery Confidentiality Order and shall execute the “Agreement
                   to Be Bound by Discovery Confidentiality Order” appended hereto as Exhibit A.

                i.   Witnesses providing testimony at trial, but oniy at the time of such testimony and
                     only as relevant and necessary to such testimony;

                j.   Party and non-party witnesses being deposed, but only to the extent that such
                     Confidential material is necessary and relevant to said deposition, and provided that
                     in the case of a deponent who is not also a Party, such deponent has signed the
                     “Agreement to Be Bound by Discovery Confidentiality Order” appended hereto as
                     Exhibit A, prior to receiving any Confidential material.

                k. Any other individual that the producing party agrees in writing is a Qualified Person
                   (which agreement shall not be unreasonably withheld); provided that, no
                   Confidential material may be provided or disclosed to any such individual unless
                   the individual has been provided with a copy of this Discovery Confidentiality
                   Order and has first executed the “Agreement to Be Bound by Discovery
                   Confidentiality Order” appended hereto as Exhibit A.

  5.      Confidential material shall be used only by individuals permitted access to it under

  Paragraph 4. Confidential material, copies thereof, and the information contained therein, shall not

  be disclosed in any manner to any other individual, until and unless (a) the attorney of record for

  the party asserting confidentiality waives the claim of confidentiality, or (b) the Court orders such

  disclosure.

  6.     With respect to any depositions that involve a disclosure of Confidential or Attorney’s Eyes

  Only material of a party to this action, such party shall have until thirty (30) days after receipt of

 the deposition transcript within which to inform all other parties that portions of the transcript are

                                                      4
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 5 of 13 PageID: 470




  to be designated Confidential or Attorney’s Eyes Only, which period may be extended by

  agreement of the parties. No such deposition transcript shall be disclosed to any individual other

  than the individuals described in Paragraph 3(a), (b), (c), (d), (e), (f) and (g) above and the deponent

  during these thirty (30) days, and no individual attending such a deposition shall disclose the

  contents of the deposition to any individual other than those described in Paragraph 3(a), (b), (c),

  (d), (e),(O, and (g) above during said thirty (30) days. Upon being informed that certain portions

  of a deposition are to be designated as Confidential or Attorney’s Eyes Only, all parties shall

  immediately cause each copy of the transcript in its custody or control to be appropriately marked

  and limit disclosure of that transcript in accordance with Paragraphs 3.

  7.      MateriaL produced and marked as Attorneys’ Eyes Only may be disclosed only to

  attorneys listed under paragraphs 4(a) and 4(b) for the receiving party and to such other persons

  as counsel for the producing party agrees in advance or as Ordered by the Court,

  8.     If counsel for a party receiving documents or information designated as Confidential or

  Attorney’s Eyes Only hereunder objects to such designation of any or all of such items, the

  following procedure shall apply:

             a. Counsel for the objecting party shall serve on the designating party or third party a
                written objection to such designation, which shall describe with particularity the
                documents or information in question and shall state the grounds for the objection.
                Counsel for the designating party or third party shall respond in writing to such
                objection within 14 days, and shall state with particularity the grounds for asserting
                that the document or information is Confidential or Attorney’s Eyes Only. If no
                timeLy written response is made to the objection, the challenged designation will be
                deemed to be void. If the designating party or nonparty makes a timely response to
                such objecting asserting the propriety of the designation, counsel shall then confer
                in good faith in an effort to resolve the dispute.

             b. If a dispute as to a Confidential or Attorney’s Eyes Only designation of a document
                or item of information cannot be resolved by agreement, the proponent of the
                designation being challenged shall present the dispute to the Court initially by
                telephone or letter, in accordance with federal Rules of Civil Procedure, before
                filing a formal motion for an order regarding the challenged designation. The
                document or information that is the subject of the filing shall be treated as originally
                designated pending resolution of the dispute.
                                                    5
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 6 of 13 PageID: 471




   9.     All requests to seal documents filed with the Court shall comply with the federal Rules of

  Civil Procedure.   a..L %ci                            t%—   £   .




   10.    If the need arises during trial or at any Hearing before the Court for any party to disclose

  Confidential or Attorney’s Eyes Only information, it may do so only after giving notice to the

  producing party and as directed by the Court.

   11.    To the extent consistent with applicable law, the inadvertent or unintentional disclosure of

  Confidential or Attorney’s Eyes Only material that should have been designated as such, regardless

  of whether the information, document or thing was so designated at the time of disclosure, shaLl

  not be deemed a waiver in whole or in part of a party’s claim of confidentiaLity, either as to the

  specific information, document or thing disclosed or as to any other material or information

  concerning the same or related subject matter. Such inadvertent or unintentional disclosure may

  be rectified by notifying in writing counsel for all parties to whom the material was disclosed that

  the material should have been designated ConfidentiaL or Attorney’s Eyes Only within a reasonable

  time after disclosure. Such notice shall constitute a designation of the information, document or

  thing as Confidential under this Discovery Confidentiality Order.

  12.     When the inadvertent or mistaken disclosure of any information, document or thing

  protected by privilege or work-product immunity is discovered by the producing party and brought

  to the attention of the receiving party, the receiving party’s treatment of such material shall be in

  accordance with the Federal Rules of Court and Rules for Professional Conduct. Such inadvertent

  or mistaken disclosure of such information, document or thing shall not by itself constitute a waiver

  by the producing party of any claims of privilege or work-product immunity. However, nothing

  herein restricts the right of the receiving party to challenge the producing party’s claim of privilege




                                                     6
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 7 of 13 PageID: 472




  if appropriate within a reasonable time after receiving notice of the inadvertent or mistaken

  disclosure.

   13.    No information that is in the public domain or which is already known by the receiving

  party through proper means or which is or becomes available to a party from a source other than

  the party asserting confidentiality, rightfully in possession of such information on a non-

  confidential basis, shall be deemed or considered to be Confidential or Attorney’s Eyes Only

  material under this Discovery Confidentiality Order.

  14.     This Discovery Confidentiality Order shall not deprive any party of its right to object to

  discovery by any other party or on any otherwise permitted ground. This Discovery Confidentiality

  Order is being entered without prejudice to the right of any party to move the Court for

  modification or for relief from any of its terms.

  15.     This Discovery Confidentiality Order shall survive the termination of this action and shall

  remain in full force and effect unLess modified by an Order of this Court or by the written

  stipulation of the parties filed with the Court.

  16.    Upon final conclusion of this litigation, each party or other individual subject to the terms

  hereof shall be under an obligation to assemble and to return to the originating source all originals

  and unmarked copies of documents and things containing Confidential or Attorney’s Eyes Only

  material and to destroy, should such source so request, all copies of Confidential or Attorney’s

 Eyes Only material that contain and/or constitute attorney work product as well as excerpts,

 summaries and digests revealing Confidential or Attorney’s Eyes Only material; provided,

 however, that counsel may retain complete copies of all transcripts and pleadings including any

 exhibits attached thereto for archival purposes, subject to the provisions of this Discovery

 Confidentiality Order. To the extent a party requests the return of Confidential or Attorney’s Eyes

 Only material from the Court after the final conclusion of the litigation, including the exhaustion

                                                      7
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 8 of 13 PageID: 473




  of all appeals therefrom and all related proceedings, the party shall file a motion seeking such

  relief.

  17.       In the event any person institutes an action for breach of this Discovery Confidentiality

  Order, such individual may seek monetary damages, injunctive and/or equitable relief as the Court

  deems appropriate. In addition, any person who successfully obtains a judgment against any other

  person for breach of this Discovery Confidentiality Order shall be entitled to recover reasonable

  attorney’s fees and costs, in addition to any monetary damages, injunctive andlor equitable relief

  that maybe awarded by the Court.




                                                        Honorable Mark falk, U S M J




                                                   S
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 9 of 13 PageID: 474




   We hereby consent to the entry of the foregoing Order.

   Dornenick Carmagnola, Esq.
   Carmagnola & Ritardi, LLC
   60 Washington St.
   Morristown, NJ. 07060
   Attorney for Defendants Borough of Englewood Cliffs,
   Nunzio Consalvo and     rk Park



   BY:
          Dornenick     nuagnola, Esq.




                                                  10
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 10 of 13 PageID: 475



                                                               0




    We hereby consent to the entry of the foregoing Order.


    Eric Harrison, Esq.
    METUFESSEL & WERBEL
    2025 Lincoln Highway
    Suite 200
    Edison, NJ. 08818
    Attorney for Defendant Carrot McMorrow



    BY:




           Eric I. Harrison, Esq.




                                                  9
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 11 of 13 PageID: 476




      We hereby consent to the entry of the foregoing Order.

      Joseph Tripodi, Esq.
      Kranjac Thpodi & Partners LLP
      30 Wall Street, 12th Floor
      New York, New York 10005
      Attorneys for defendant Mario M. Kranjac,
      in his official and individual capacity




                                                     13
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 12 of 13 PageID: 477




      We hereby consent to the entry of the foregoing Order.

      James P. Patuto, Esq.
      Galantucci & Patuto
      55 State Street
      Hackensack, NJ 07601
      Attorneys for Plaintiff Michael Cioffi



      BY:          /
                              /

                                   :   /       /   --




             James 1’.iPatütà, Escj.
Case 2:16-cv-04536-ES-MAH Document 46 Filed 01/22/18 Page 13 of 13 PageID: 478




    We hereby consent to the entry of the foregoing Order.

    Richard Malagiere, Esq.
    Law Offices of Richard Malagiere, PC.
    250 Moonachie Road, Suite 102
    Moonachie, NJ 07074
    Attorneys for Plaintiff Michael Cioffi



    BY:
           Richard Malag re, Esq.




                                                  12
